
512 So.2d 1175 (1987)
Jannery Lemaire CHAUVIN, Individually as Surviving Spouse of Lennis J. Chauvin, and as Natural and Duly Appointed Tutrix of the Minor Children, Michelle Reneé Chauvin and Nichole Simone Chauvin
v.
GULF COAST MINERALS, INC., Gulf Associates of Louisiana, Inc., Gulf Water Systems, Inc., Highlands Insurance Company, Clarence Eugene Whipp, Jr., Southern Structures, Inc., Liberty Mutual Insurance Co., and Ronald Thibodeaux d/b/a Ronald Thibodeaux Electrical Service.
No. 87-C-1399.
Supreme Court of Louisiana.
October 2, 1987.
Denied.
DIXON, C.J., and CALOGERO and MARCUS, JJ., would grant the writ.
